     Case 1:12-cr-00098-RHB ECF No. 16 filed 07/22/15 PageID.31 Page 1 of 1



                               U NITED S TATES D ISTRICT C OURT
                          FOR THE W ESTERN D ISTRICT OF M ICHIGAN




 UNITED STATES OF AMERICA,

                        Plaintiff,                               No. 1:12-CR-98

 v                                                               Hon. Robert Holmes Bell

 PABLO RAZO FIERRO,

                        Defendant.



           UNOPPOSED MOTION FOR ENDS-OF-JUSTICE CONTINUANCE


       Pablo Razo Fierro hereby moves, pursuant to Rule 23.2 of the Local Criminal Rules of this

Court and the Speedy Trial Act, 18 U.S.C. § 3161, et seq., to continue the final pretrial conference

and trial, currently set for August 4 and 17, 2015, respectively, for a period of 30 days.

       Counsel has conferred with the attorney for the Government, Nils Kessler, who does not

object to the requested relief. A written waiver of speedy trial has been executed by Mr. Fierro.

Exhibit A. This motion is supported by the accompanying brief.

                                              Respectfully Submitted,
Dated: July 22, 2015
                                              WILLEY & CHAMBERLAIN LLP
                                              Attorneys for Defendant

                                                  s/ Britt Morton Cobb
                                              _________________________________
                                              Britt Morton Cobb (P69556)

                                              40 Pearl Street, N.W., Suite 940
                                              Grand Rapids, Michigan 49503-3032
                                              (616) 458-2212
                                              bmc@willeychamberlain.com
